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                               UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA


  HARTFORD FIRE INSURANCE                           Case No. 23-cv-06259-VC
  COMPANY,
                 Plaintiff,                         TENTATIVE ORDER RE CROSS-
                                                    MOTIONS FOR SUMMARY
          v.                                        JUDGMENT
  CARSON MADRONA COMPANY, LLC,                      Re: Dkt. Nos. 63, 64, 67, 68
  et al.,
                 Defendants.

       The Court is tentatively inclined to rule on the cross-motions for summary judgment as

follows: The endorsement, not the coverage form, controls Carson Madrona’s coverage under the

Hartford and ACE policies. The endorsement requires something like proximate cause, such that

Hartford and ACE had no duty to indemnify Carson Madrona given the jury’s finding that

Ashley was a 0% substantial factor in causing Perez’s injuries. Hartford and ACE had a duty to

defend Carson Madrona on appeal, however, because the appeal could have resulted in a new

trial, which could in turn have resulted in a finding that Ashley caused Perez’s injury and
therefore resulted in coverage. The Ohio Security policy applies before the Hartford policy, and

the American Fire policy applies before the ACE policy.

       The parties should come to the hearing prepared to discuss these tentative rulings

(including whether the tentative ruling on priority of coverage would be an alternative ground for

granting Hartford’s and ACE’s motions regarding their duty to defend).

       IT IS SO ORDERED.

Dated: February 25, 2025
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
